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                            UNITED STATES DISTRICT COURT
                           NORTHERN DISTRICT OF MISSISSIPPI
                                  OXFORD DIVISION


LATASHA MCLAUGHLIN,

                    Plaintiff,                              Case No. 3:13-CV-00194

       vs.

MILWAUKEE ELECTRIC TOOL
CORPORATION,

                    Defendant.


                                    ORDER OF DISMISSAL


             Based on the parties’ Stipulation for Dismissal with Prejudice, it is hereby

       ORDERED that the above-captioned matter is hereby DISMISSED WITH PREJUDICE,

on the merits with each party to bear its own costs.

                Signed this 30th day of July, 2014.


                                               BY THE COURT:



                                               /s/ Neal Biggers
                                               NEAL B. BIGGERS, JR.
                                               UNITED STATES DISTRICT JUDGE
